        Case 3:20-cv-05376-BHS Document 19-6 Filed 07/01/20 Page 1 of 2




From: "gmarkham@nwlink.com"
Subject: Re: AGREEMENT FOR PROFESSIONAL SERVICES.docx
Date: March 20, 2020 at 5:33:47 PM PDT
To: "Michael A. Barcott" <Mbarcott@hwb-law.com>

Why Mike that’s the very response my colleges are constantly asking me of
you (and your clients and their underwriters) in response to their various
requests to see policies, ROV videos, progress with the State etc. It's late on a
Friday and hopefully all should be revealed by Monday. Glad to hear that you
are alive and well and that at least I have you curious?

as ever

Jerry


On Mar 20, 2020, at 5:25 PM, Michael A. Barcott <Mbarcott@hwb-law.com>
wrote:

I have no idea what your other actions are. Is there really the need to be this
coy?

Sent from my iPhone


From: "gmarkham@nwlink.com" <gmarkham@nwlink.com>
Subject: Fwd: AGREEMENT FOR PROFESSIONAL SERVICES.docx
Date: March 20, 2020 at 5:18:14 PM PDT
To: "Michael A. Barcott" <Mbarcott@hwb-law.com>

Per our discussions please find the proposal I promised from Alaska
registered lobby consultants Robert Evan’s and John Bitney. My discussions
with them allow for various options but the SR victims are at the point were
they need to see a good faith showing on your clients part

I would expect that my other efforts to try to provoke a demonstration of your
represented like good faith efforts to move this case along toward a resolution
       Case 3:20-cv-05376-BHS Document 19-6 Filed 07/01/20 Page 2 of 2




will be in place by early next week at the latest if you’ve not been notified of
them already.

Per my yesterday email please call me as soon as you are aware of them and
feel you can discuss the matter.

Jerry Markham
360-378-2047
